 Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 1 of 28




       EXHIBIT 1
TO NON-PARTY NINTENDO
   OF AMERICA INC.’S
ADMINISTRATIVE MOTION
 TO SEAL PORTIONS OF
  REDLINED CONTENT
       LICENSE
   AND DISTRIBUTION
      AGREEMENT

   (REDACTED VERSION)
            Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 2 of 28
Confidential


You, as an authorized representative of Content Provider, indicate Content Provider’s agreement to be
       bound by these terms by clicking the "Accept" button.

                                           Nintendo Switch
                                 Content License and Distribution Agreement

                                                                                  Last Updated: November 15, 2019


This Nintendo Switch Content License and Distribution Agreement (the “Agreement”) governs the relationship
between Nintendo Co., Ltd., 11-1 Hokotate-cho, Kamitoba, Minami-ku, Kyoto, 601-8501, Japan (“Nintendo”) and
you or the entity you represent Epic Games, Inc. located at 620 Crossroads Blvd., Cary, NC 27518, U.S.A.
(“Content Provider”).

Nintendo and Content Provider are collectively referred to as the “Parties”; each a “Party”.

Nintendo and Content Provider agree as follows:


1.   Definitions
      1.1 “Activation Ticket” means an activation code, download code, internet-based data validation mechanism
           and any other mechanism supported by Nintendo Entities which allows the Registration of a license for
           the Content by Nintendo Entities to the account of the end user presenting such Activation Ticket to
           Nintendo Entities.
      1.2 “Affiliate(s)” of a Party means an entity that directly or indirectly controls, or is controlled by, or under
          common control with that Party. “Control”, for the purpose of this definition, means direct or indirect
          ownership or control of more than 50% of the voting interests of the subject entity.
      1.3 “Assignment” means any type or form of assignment, transfer, sale, sublicense, delegation,
          encumbrance, pledge, or hypothecation of this Agreement or of a Party’s rights or obligations under this
          Agreement, whether occurring voluntarily or involuntarily.
      1.4 “Authorized Developer” means any person third-party developer or entity contractor that has accepted
          the Terms of Service and has a valid account to access the NDP.
      1.5 “Claim” means any and all threatened or realized third-party claims, demands, actions, suits or
          proceedings, including, without limitation, civil, criminal and regulatory matters, and those brought by
          governmental authorities, agencies or any third-party under any federal, state or foreign law or
          regulations, or the rules of any self-regulatory body (for example, the Entertainment Software Rating
          Board).
      1.6 “Confidential Information” means any information provided to a Party or to a Party’s Affiliate
          (“Receiving Party”) that is disclosed by the other Party or the other Party’s Affiliate, (“Disclosing Party”),
          or by any third-party under an obligation of confidentiality to Disclosing Party, that is designated as
          confidential or that, given the nature of the information or the circumstances surrounding its disclosure,
          reasonably should be considered as confidential. Nintendo’s Confidential Information includes, without
          limitation, the Development Materials, Guidelines, any materials and information available on the NDP
          (other than the Content), Nintendo User Data and the terms and conditions of this Agreement, but does
          not include Feedback. Confidential Information will not include any information which: (i) was in the public
          domain prior to Receiving Party’s receipt of the same hereunder, or which subsequently becomes part
          of the public domain by publication or otherwise, except by the Receiving Party’s act or omission; (ii)
          Receiving Party can demonstrate, through written records kept in the ordinary course of business, was
          in its possession without restriction on use or disclosure, prior to its receipt of the same hereunder, and
          was not acquired directly or indirectly from Disclosing Party under an obligation of confidentiality which
          is still in force; (iii) Receiving Party can show was received by it from a third-party who did not acquire
          the same directly or indirectly from Disclosing Party under an obligation of confidentiality; or (iv) Receiving
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 3 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 4 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 5 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 6 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 7 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 8 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 9 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 10 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 11 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 12 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 13 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 14 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 15 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 16 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 17 of 28
          Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 18 of 28
Confidential


      16.9 Governing Law / Jurisdiction.
      16.9.1 Americas. If Content Provider’s head office is located in the Americas (as defined in Exhibit A of
      Schedule 1), this This Agreement and the relationship between Nintendo and Content Provider under this
      Agreement are governed by the laws of the State of Washington, United States of America, without regard
      to its conflict of laws provisions. Content Provider irrevocably consents to the jurisdiction and venue of the
      Federal, state, and local courts located in King County, Washington, U.S.A. in connection with any action,
      suit, proceeding, or claim arising under or by reason of this Agreement. Content Provider waives all
      defences for lack of personal jurisdiction and forum non conveniens. The United Nations Convention on
      Contracts for the International Sales of Goods will not apply to this Agreement.
      16.9.2 Other countries. If Content Provider’s head office is located in the countries other than the Americas,
      this Agreement and the relationship between Nintendo and Content Provider under this Agreement are
      governed by the laws of Japan without regard to its conflict of laws provisions. Content Provider irrevocably
      consents to the exclusive jurisdiction of the Tokyo District Court in connection with any action, suit,
      proceeding, or claim arising under or by reason of this Agreement. The United Nations Convention on
      Contracts for the International Sales of Goods will not apply to this Agreement.
16.10 Language. This Agreement is made in the English language and any translated version of
    this Agreement is provided for reference purpose only. In the event of any inconsistency between non-English
    version and the English version, the English version will control.

IN WITNESS WHEREOF, the Parties have entered into this Agreement as of the Effective Dale.

 Nintendo:                                             Content Provider:
 Nintendo Co., Ltd.                                    Epic Games, Inc.
 By:                                                   By:
 Name: Susumu Tanaka                                   Name: Joe Babcock
 Title: Senior Executive Officer,
 General Manager, Licensing Division                   Title: CFO
 Date: JUN 22, 2018                                    Date: June 27, 2018
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 19 of 28
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 20 of 28
          Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 21 of 28
Confidential


     5.3 Content Provider shall not sell any Nintendo User Data for monetary or other valuable consideration.
               Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 22 of 28



Exhibit B (Anti-Social Forces)
This Exhibit B will be applied to Content Provider if it is located in Japan.
1.      Content Provider represents and warrants to Nintendo Entities that:
        (i)      it is not and will not be an Anti-Social Force (defined below);
        (ii)     any of its employees, directors and officers are not and will not be an Anti-Social Force;
        (iii)    it will not give monetary benefits or any other favors to an Anti-Social Force; and
        (iv)     it does not and will not, directly or indirectly; (a) make violent demands, make unreasonable
                 demands beyond the legal liability of Nintendo Entities; (b) use threat or violence in connection with
                 transactions; (c) damage the credit or interfere with the business of Nintendo Entities by spreading
                 false rumors, using fraud or force; or (d) any other acts equivalent to any of the foregoing.

      “Anti-Social Force” means an organized crime group (“Boryokudan”), a member of a Boryokudan
      (“Boryokudanin”), a sub-member of a Boryokudan (“Boryokudan jyunkoseiin”), a corporation related to a
      Boryokudan (“Boryokudan kanren gaisha”), a racketeer attempting to extort money from a company by
      threatening to cause trouble at the general stockholders’ meeting (“Soukaiya”) or acting as if advocating
      legitimate social causes (“Shakai undou nado hyoubou goro”), or a special intelligence organized crime group
      (“Tokusyu chinou boryoku syudan”), or other group or person equivalent to any of the foregoing.
2. If Content Provider breaches the representations and warranties above, Nintendo will be entitled to immediately
       terminate the Agreement without notice and demand Content Provider to indemnify Nintendo against all
       damages. Nintendo will not be liable for any damages, losses or expenses incurred by Content Provider in
       connection with the termination of this Agreement by Nintendo under this Section.
           Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 23 of 28



                                               Schedule 1:
                                       Nintendo Shop Sale Schedule
                                                    to
                        Nintendo Switch Content License and Distribution Agreement

If Content Provider submits Content for Distribution in the Nintendo Shop, the following terms apply;

1.      Distribution of the Content
     1.1 Nintendo as Commission Agent. Content Provider hereby appoints Nintendo as Content Provider’s sale
          commission agent Furthermore, and Nintendo hereby appoints Nintendo Entities as sub-commission
          agents, to perform Sale and Distribution in Nintendo Shop to end users located in countries listed on
          Exhibit A to this Schedule (the “Sub-Commission Agent”). Each Nintendo Entity will operate as Content
          Provider’s sales commission agent or Sub-Commission Agent (as applicable) for all Sales in the Nintendo
          Shop in their respective countries as listed in Exhibit A. Nintendo Entities will Sell the Content in their
          own name, but for the account of Content Provider. Content Provider agrees, and Nintendo will ensure,
          that any and all rights and obligations of Nintendo acting as Content Provider’s sales commission agent
          under the Agreement and this Schedule will apply respectively to any Sub-Commission Agent, but without
          Sub-Commission Agent becoming a party to the Agreement and/or this Schedule. The respective sales
          commission agent or Sub-Commission Agent (as applicable) will be the contracting party with the end
          user in relation to the Sale of the Content in the Nintendo Shop. Only the respective sales commission
          agent or Sub-Commission Agent (as applicable) will have a payment claim for such Sales against the
          end user. Content Provider acknowledges that (i) Nintendo may update or modify the Exhibit A from time
          to time by posting notice via NDP or sending written or email notice to Content Provider, and (ii)
          Distribution of Content may not be possible throughout all parts of the Territory and that Nintendo Entities
          assume no liability in this regard.
     1.2 Pricing. Content Provider alone will set the price at which the respective Nintendo Entity will Sell the
          Content in the Nintendo Shop. Content Provider may change the price from time to time in its sole
          discretion. Content Provider will follow Nintendo’s standard process for price changes which has been
          communicated to Content Provider by Nintendo, and changes will be processed by Nintendo in
          accordance with such standard process as further described in the Guidelines and/or in memorandums
          provided by Nintendo to Content Provider.
     1.3 Content Registration. Content Provider will register via NDP or other means designated by Nintendo, all
          Product Information deemed reasonably necessary by Nintendo Entities to market, offer and Sell the
          Content in accordance with this Schedule.
     1.4 Content Removal. Nintendo Entities may at any time without notice to Content Provider, remove the
         Content from the Nintendo Shop for all or a part of the Territory if Nintendo Entities reasonably deem
         such removal necessary, including, but not limited to, when Nintendo Entities reasonably believe that the
         Content (i) violates or infringes the Intellectual Property Rights of any third-party, (ii) violates any Laws,
         the Agreement or the Guidelines, or (iii) contains bugs, errors, or security risks that materially affect the
         Content, Nintendo System or Nintendo Network.
     1.5 Termination or Cancellation of Sale. Nintendo Entities may terminate or cancel any Sale (including the
          termination of any Registered license for the Content) and make a Refund in whole or in part, if Nintendo
          Entities reasonably deem such termination, cancellation, or Refund desirable.
2.      License Grant by Content Provider
     2.1 Content Provider grants to Nintendo Entities during the Distribution Period and throughout the Territory, a
          non-exclusive, paid-up, royalty-free license in and to the Content, and all of Content Provider’s
          Intellectual Property Rights associated therewith, solely as necessary and sufficient to permit Nintendo
          Entities (and all third parties working on their behalf) to (a) host the Content on one or more servers
          owned, controlled, or authorized by Nintendo Entities; (b) offer the Content for Sale via the Nintendo
          Network for end users’ use; (c) Register a license of the Content; (d) advertise, market, and promote the
          Content; and (e) Sell and Distribute the Content.
         Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 24 of 28



     Notwithstanding the above, Content Provider acknowledges and agrees that:
          (i)    a Nintendo Entity will not be in breach of the Agreement and/or this Schedule if it Distributes,
                 Sells, advertises, markets, or promotes the Content to any end user or a third-party representing
                 themselves to be within the Territory (e.g., by designating a false country setting on the
                 account), even if they are not in fact within the Territory;
          (ii)   Nintendo Entities do not restrict the territory in which the Content is used by end users after the
                 Registration of a license for the Content;
          (iii) any limitations concerning the Distribution Period do not affect or restrict the use of the Content
                by end users after the Sale has been completed; and
          (iv) the Content may be hosted on servers located within and/or outside the Territory and, for re-
               download of the Content under Section 5 below, Nintendo Entities may continue to host the
               Content during and after the Distribution Period.

3. Commission; Payments
     3.1 Commission. Nintendo, as Content Provider’s sale commission agent, will receive from Content Provider
         the Commission for each Sale in the Territory.
     3.2 Reports. Each calendar month, Nintendo will provide Content Provider with a report listing all Sales of
         Content in the Nintendo Shop and the Final Payable Amount in the preceding calendar month. Content
         Provider will not alter the report received by Nintendo in any way.
     3.3 Payment. Nintendo will pay the Final Payable Amount in the preceding calendar month to Content
         Provider within thirty (30) calendar days of each month; provided however, if the Final Payable Amount
         to Content Provider is less than the Minimum Payment Amount, Nintendo may in its sole discretion
         withhold making such payment until (i) payments due under this Section exceed the Minimum Payment
         Amount, or (ii) this Schedule expires or terminates; whichever is earlier. Notwithstanding the above, if
         the Final Payable Amount shows a positive balance in favor of Nintendo, Content Provider will pay to
         Nintendo the respective amount within thirty (30) calendar days after its receipt of the monthly report.
     3.4 Payment Currency. All payments by Nintendo to Content Provider under this Schedule will be made in
         the Payment Currency set forth in the Payment Currency Schedule as updated from time to time by
         Nintendo by posting notice via NDP or sending written or email notice to Content Provider. For Sales in
         currencies other than the Payment Currency, the foreign currency price and the applicable Transaction
         Taxes for Sales will be converted to the Payment Currency based upon the monthly average exchange
         rate posted by OANDA.com for the month such Sale occurs. For example, for a Sale transaction in
         January, Nintendo would use the OANDA’s monthly average rate for January to calculate the currency
         conversion.
     3.5 Transaction Taxes. In the event the Sale is subject to the Transaction Taxes, responsibility for remittance
         of the Transaction Taxes will be determined in accordance with Exhibit C to this Schedule. Exhibit C is
         subject to change in compliance with the applicable Laws including local tax laws. Content Provider will
         promptly and fully indemnify, defend and hold Nintendo Entities harmless against any and all claims by
         any tax authority in connection with the Transaction Taxes Content Provider is responsible for remitting.
     3.6 Withholding Taxes. Content Provider is solely responsible for paying all taxes that are levied on Content
         Provider in compliance with applicable Laws. In the event that any payment by Nintendo to Content
         Provider or by Content Provider to Nintendo is subject to any withholding or other similar tax levied by
         any applicable jurisdiction, the payer will withhold such tax and pay the payee the amount of money after
         deducting such withholdings. The payer will not be obliged to make gross-up payments to the payee. If
         reduction of withholding taxes is available in accordance with an applicable treaty, both parties will
         cooperate in mitigating any withholding tax burden. In the event any withholding tax is levied on the
         payment from the payer to the payee, payer will provide payee copies of relevant tax documents
         evidencing withholding of such taxes.
    3.7 Payment Withhold. Without prejudice to any remedies of Nintendo, Nintendo may withhold payment to
         Content Provider
Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 25 of 28
           Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 26 of 28



8.6 “Payment Currency Schedule” means the current version or any future version of the list of the Payment
    Currency and Minimum Payment Amount.
8.7 “Refund” means (i) any payment by a Nintendo Entity to a third-party, representing the return of the purchase
    price received by a Nintendo Entity from a third-party in .relation to a Sale, where such Sale has been terminated
    or cancelled; or (ii) any payment by a Nintendo Entity to the credit card issuing institution, representing the
    return of the purchase price received by the Nintendo Entity from an end user in relation to a Sale, where such
    end user requested a charge back at the end user’s credit card issuing institution.
8.8 “Sale” means the Registration of a license for the Content in exchange for the payment of the purchase price
    by an end user to Nintendo Entity via the Nintendo Shop.
8.9 “Sell” or “Sold” means the completion of a Sale. The download of the Content to a Nintendo System and the
Registration of a license for the Content via the redemption of an Activation Ticket by end users are not considered
a Sale.
8.9 8.10 “Territory” means NCL Region, NOA Region, NOE Region, NAL Region, NOK Region and/or NHL Region
    (each as defined in Exhibit A) as selected by Content Provider for the distribution of the specific Content.
8.108.11 “Transaction Taxes” means in relation to a Sale, all applicable value-added taxes,
    consumption taxes, sales taxes, or similar transaction-based taxes.
          Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 27 of 28



Exhibit A to Schedule 1: Appointment as Commission Agent


Nintendo Entity that has been appointed    Territory
as sale commission agent
Nintendo Co., Ltd.                         NCL Region         Japan and other countries where
                                                              Nintendo Entities offers the Nintendo
                                                              Shop services except for the Sub-
                                                              Commission Agent’s Territory listed in
                                                              the below table.
Nintendo Entity that has been appointed     Territory
as Sub-Commission Agent
Nintendo of America Inc.                    NOA Region          Americas where Nintendo Entities offer
                                                                the Nintendo Shop services (except for
                                                                Canada)
Nintendo of Canada Ltd. (as appointed by                        Canada
Nintendo of America Inc.)
Nintendo of Europe GmbH                     NOE Region          Europe and Africa where Nintendo
                                                                Entities offer the Nintendo Shop
                                                                services
Nintendo Australia Pty. Limited             NAL Region          Australia and New Zealand
Nintendo of Korea Co., Ltd.                 NOK Region          Korea
Nintendo (Hong Kong) Limited                NHL Region          Hong Kong and Taiwan




For the Distribution of Content to end users located in countries in Europe or Africa, Nintendo is the Content
Provider’s sale commission agent (“Kommissionär” in the sense of sec. 383 para. 1 German Commercial Act
[“Handelsgesetzbuch”]) for such Content and the agent and Sub-Commission Agent will apply reasonable efforts
of a prudent businessperson to support the Distribution of the Content in accordance and subject to the
Agreement and this Schedule; in particular, with regard to the Distribution of Content to end users located in
countries in Europe or Africa, the agent and Sub-Commission Agent will apply the care of a prudent
businessperson when removing Content in accordance with Section 1.4 of this Schedule and when terminating
or cancelling any Sale in accordance with Section 1.5 of this Schedule.


“Americas” means following countries: Anguilla, Antigua and Barbuda, Argentina, Aruba, Bahamas, Barbados,
Belize, Bolivia, Brazil, Canada, British Virgin Islands, Cayman Islands, Chile, Colombia, Costa Rica, Curacao,
Dominican Republic, Grenada, Grenadines, Ecuador, El Salvador, Falkland Islands, French Guiana,
Guadeloupe, Guatemala, Guyana, Haiti, Honduras, Jamaica, Martinique, Mexico, Montserrat, Netherlands
Antilles, Panama, Paraguay, Peru, St. Kitts and Nevis, St. Lucia, St. Vincent, Suriname, Trinidad and Tobago,
Turks and Caicos, Uruguay, United States and its Territories and Possessions, and Venezuela.
“Europe” means the following countries: Republic of Albania, Principality of Andorra, Republic of Armenia,
Republic of Austria, Republic of Azerbaijan, Republic of Belarus, Kingdom of Belgium, Bosnia and Herzegovina,
Republic of Bulgaria, Republic of Croatia, Republic of Cyprus, Czech Republic, Kingdom of Denmark, Republic
of Estonia, Republic of Finland, French Republic, Georgia, Federal Republic of Germany, Hellenic Republic,
Hungary, Republic of Iceland, State of Israel, Ireland, Italian Republic, Republic of Kazakhstan, Republic of
Latvia, Principality of Liechtenstein, Republic of Lithuania, Grand Duchy of Luxembourg, Republic of Macedonia,
Republic of Malta, Republic of Moldova, Principality of Monaco, Montenegro, Kingdom of the Netherlands,
Kingdom of Norway, Republic of Poland, Portuguese Republic, Romania, Russian Federation, Republic of San
Marino, Republic of Serbia, Slovak Republic,
           Case 4:20-cv-05640-YGR Document 705-1 Filed 05/18/21 Page 28 of 28



Republic of Slovenia, Kingdom of Spain, Kingdom of Sweden, Swiss Confederation, Republic of Turkey, Ukraine,
United Kingdom of Great Britain and Northern Ireland.
“Africa” means the following countries: Republic of Chad, Republic of Djibouti, State of Eritrea, Republic of Mali,
Islamic Republic of Mauretania, Republic of Niger, Federal Republic of Somalia, Republic of South Africa and
Republic of Sudan.

Exhibit B to Schedule 1: Commission
Thirty percent (30%) of the amount Nintendo Entity actually received for each Sale from end users, net of any
Transaction Taxes.
In addition, the Commission paid to Nintendo by Content Provider located in Japan will be subject to Japanese
Consumption Tax.

Exhibit C to Schedule 1: Transaction Taxes

1.       Content Provider will be solely responsible for remitting the Transaction Taxes to the appropriate tax
authorities as required by the applicable local Laws for Sales to end users located in the following countries:

Japan

2.      The respective Nintendo Entity will remit the Transaction Taxes to the appropriate tax authorities for Sales
to end users located in the following countries:

Countries in which Nintendo Entities offer the Nintendo Shop services other than the countries listed in Section 1
of this Exhibit C above.
